                                          Exhibit I




                       Fax Confirmation

Fax Details

 +1 (785) 448-3230


 +17035707396


 May 13, 2025 at 13:34
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Status

 Delivered


 May 13, 2025 at 13:35
                IN THE DISTRICT COURT OF ANDERSON COUNTY, KANSAS
                             FOURTH JUDICIAL DISTRICT

Jonathan David Lawson,                                       Case No. 2020-DM-000131
Petitioner                                    IN THE MATTER OF THE MARRIAGE OF

V.


Angeliina Lynn Lawson,

Respondent, Pro Se


     DESIGNATION OF RECORD FOR FEDERAL REMOVAL - S:25-cv-04045


TO THE CLERK OF THE DISTRICT COURT:

Respondent, Angeliina Lynn Lawson, appearing Pro Se, hereby submits this Designation
of Record in relation to the removal of this matter to the United States District Court for
the District of Kansas, Case No. 5:25-cv-04045-JWB-TJJ. This designation is submitted
pursuant to the obligations under 28 U.S.C. § 1446 and District of Kansas Local Rule
81.2, and is to ensure the completeness of the state court record for federal review.

Respondent designates the full record starting from 09/01/2020 including but not limited
to following items from the state court record for transmittal and inclusion in the federal
proceeding:

• Notice of Removal filed May 6, 2025 (Index #44);

• Motion to Withdraw Attorney & Notice of Self-Representation (Index #33);

• Objection to Judicial Denial of Self-Representation (Index #43);

• Master Notice of Federal Conflict and ADA Obstruction (Index #36);

• Affidavits and Supplemental Affidavits by Respondent (Index #30, #32, #37);

• CART Notes from Hearing May 8, 2025 (Index #45);

• Notice of GAL Withdrawal and Related Federal Filings;

• Motion to Recuse Judge Eric W. Godderz & Chief Judge Taylor Wine (Index #38);

• Motion to Transfer Venue to Johnson County (Index #40);
•   All hearing notices, transcripts, exhibits, evidence, reports, third parties submissions,
    journal entries, attorney appearances, judge logs of meetings and ex parte
    communications, and court orders dated on or before May 8, 2025;
•   Any and all pleadings, motions, notes, and judicial rulings from September 1, 2020
    to present including all unfUed or undocketed materials entered after May 6, 2025,
    including but not limited to:
        o Notice of Obstruction
        o Motion to Compel
        o Supplemental Notice of Post-Removal Proceedings
        o Second Notice of Clerk Obstruction
        o GAL Andrew Bolton's Oral and Formal Withdrawal
        o Ronald Wood's Oral and Formal Withdrawal
•   All records of ADA-related communications, including conversations, emails, and
    correspondence, Teams or Zoom meeting recordings and minutes/chats,
    involving the ADA Coordinator(s), Clerks, Judges, State Attorneys, and the Office of
    Judicial Administration, to ensure the full completeness of the state court record for
    federal review.


Respondent reserves the right to amend or supplement this designation as needed and
respectfully requests that this record be assembled and transmitted without further delay
for inclusion in the federal case.


                                                                     Date: May 12, 2025




Angeliina Lynn Lawson

1914 5th Ave., Leavenworth, KS 66048

angeliinacourtrecords@gmail.com

(913) 972-1661
                           CERTIFICATE OF SERVICE

I hereby certify that on May 12, 2025, I filed the foregoing Designation of Record for
Federal Removal-Case No. 5:25-cv-04045-JWB-TJJ with the Clerk of the District
Court of Anderson County, Kansas, and served a true and correct copy of the same by
U.S. Mail and/or electronic service to the following:

Jonathan David Lawson
7029 Round Prairie St.
Shawnee, KS 66226

Clerk of the District Court of Anderson County
100 E. 4th Ave.
Garnett, KS 66032



                                                        • Dated: May 12, 2025




An •• a Lynn Lawson
1914 5th Ave.
Leavenworth, KS 66048
angeliinacourtrecords@gmail.com
(913) 972-1661
